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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                  Plaintiff,
                                                                     File No: 1:07-CR-281-03
v.
                                                                     HON. ROBERT J. JONKER
FRANCISCO JAVIER CARCINI,

                  Defendant.
                                         /


                                    ORDER AND JUDGMENT
                           APPROVING REPORT AND RECOMMENDATION

         The Court has reviewed the Report and Recommendation filed by the United States Magistrate Judge

in this action (docket # 77), and the transcript of the plea hearing. The Report and Recommendation was

served on the parties, and no objection has been filed within the time required by law. Based on this, and on

the Court’s review of the transcript and all matters of record, IT IS ORDERED that:

         THEREFORE, IT IS ORDERED that:

         1.       The Report and Recommendation of the Magistrate Judge (docket # 77) is approved and

adopted as the Opinion and Findings of this Court.

         2.       Defendant Francisco Javier Carcini's plea of guilty to Count 1 of the Indictment is accepted.

Defendant Francisco Javier Carcini is adjudicated guilty.

         3.       A decision of whether to accept the written plea agreement will be made at the time of

sentencing after the Court has had the opportunity to review the Presentence Investigation Report. See

U.S.S.G. Ch. 6.




Dated:        April 16, 2008                        /s/ Robert J. Jonker
                                                    ROBERT J. JONKER
                                                    UNITED STATES DISTRICT JUDGE
